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                                      UNITED STATES DISTRICT
                                          COURT FOR THE
                                       SOUTHERN DISTRICT OF
                                             FLORIDA

                                                CASE NO.:


  WINDY LUCIUS,

                   Plaintiff,

  v.


  PELICAN REEF, INC., d/b/a
  Rattan Shack

                   Defendant.


  __________________________________/

                   COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

              Comes now Windy Lucius, (“Plaintiff”) by and through her undersigned counsel,

       hereby files this complaint and sues Defendant, PELICAN REEF, INC. alleges as follows:

                                            INTRODUCTION

              1.      Plaintiff Windy Lucius brings this action individually and on behalf of all

       others similarly situated against PELICAN REEF, INC., (“Defendant”), alleging violations

       of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter,

       “ADA”).


              2.      Plaintiff is a blind individual. She brings this action against Defendant

       for offering and maintaining an internet website that is not fully accessible and

       independently usable by visually impaired consumers. The website at issue is

       www.allweatherpatio.com/ (hereinafter, “website”).
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            3.       Defendant offers its website to the general public. As such, it has subjected

    itself to the ADA. Defendant’s website is offered as a tool to promote, advertise and sell

    products from its brick and mortar stores, which are places of public accommodation. As a result, the

    website must interact with Defendant’s stores and the public, and in doing so must comply with the

    ADA, which means it must not discriminate against individuals with disabilities and may not deny

    full and equal enjoyment of the goods and services afforded to the general public.

            4.      Blind and visually impaired consumers must use screen reading software or

    other assistive technologies in order to access website content. Defendant’s website,

    however, contains digital barriers which limit the ability of blind and visually impaired

    consumers to access it.

            5.      Defendant’s website does not properly interact with screen reader software

    in a manner that will allow the blind and visually impaired to enjoy the website, nor does it

    provide other means to accommodate the blind and visually impaired.

            6.      Plaintiff has patronized Defendant’s website in the past and intends to continue

    to patronize Defendant’s website. Plaintiff would also be able to pre-shop Defendant’s

    inventory and learn about specials, sales and offers before going to the physical location to

    shop or make purchases. However, unless Defendant is required to eliminate the access

    barriers at issue and required to change its policies so that access barriers do not reoccur on

    Defendant’s website, Plaintiff will continue to be denied full and equal access to the website

    as described and will be deterred from fully using Defendant’s website or shopping its physical

    locations.

            7.      The ADA expressly contemplates the type of injunctive relief that Plaintiff

    seeks in this action. The ADA provides, in part:

            [i]n the case of violations of . . . this title, injunctive relief shall include an order
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            to alter facilities to make such facilities readily accessible to and usable by
            individuals with disabilities . . . Where appropriate, injunctive relief shall also
            include requiring the . . . modification of a policy . . .

    42 U.S.C. § 12188(a)(2).

            8.       Therefore, Plaintiff seeks a declaration that Defendant’s website violates

    federal law as described and an injunction requiring Defendant to modify its website so that

    it is fully accessible to, and independently usable by, blind or visually impaired individuals.

    Plaintiff further requests that the Court retain jurisdiction of this matter for a period to be determined

    to ensure that Defendant comes into compliance with the requirements of the ADA and to ensure that

    Defendant has adopted and is following an institutional policy that will, in fact, cause Defendant’s

    website to remain in compliance with the law.

                                      JURISDICTION AND VENUE

            9.       This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

    U.S.C. § 12188.

            10.      Plaintiff’s claims asserted herein arose in this judicial district and Defendant

    does substantial business in this judicial district.

            11.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2)

    in that this is the judicial district in which Defendant resides, and in which a substantial part

    of the acts and omissions giving rise to the claims occurred.

                                                   PARTIES

            12.      Plaintiff, Windy Lucius, is and, at all times relevant hereto, was a resident of

    the State of Florida. Plaintiff is and, at all times relevant hereto, has been legally blind and is

    therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

    regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

            13.      Defendant PELICAN REEF., Inc. owns, operates and maintains numerous
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    retail stores, called Rattan Shack, throughout South Florida. Defendant’s stores sell outdoor

    furniture, indoor furniture and home accents to the public. Defendant also offers those items

    to the public through its website. Defendant’s stores and accompanying website work

    collectively and are public accommodations pursuant to 42 U.S.C. § 12181(7)(E).

                                                FACTS

           14.        Defendant owns, operates and controls an internet website known as

    www.allweatherpatio.com/ which sells indoor, outdoor and furniture and home accents from

    their corresponding brick and mortar stores. Defendant’s website also helps users locate

    stores, view pricing and specials, and a variety of other functions.

           15.        Defendant’s website is a place of public accommodation pursuant to 42

    U.S.C. § 12181(7)(E). Therefore, under the ADA, Defendant must ensure that individuals

    with disabilities have access to full and equal enjoyment of the goods and services offered

    on its website.

           16.        Blind and visually impaired individuals may access websites by using

    keyboards in conjunction with screen reader software that converts text to audio. Screen

    reader software provides the primary method by which a visually impaired person may

    independently use the internet. Unless the website is designed to be accessed with screen

    reader software, visually impaired individuals are unable to fully access website and the

    information, products, and services available through the website.

           17.        The international website standards organization, W3C, has published WCAG

    2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides

    widely accepted guidelines for making websites accessible to individuals with disabilities and

    compatible with screen reader software. These guidelines have been endorsed by the United
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    States Department of Justice and numerous U.S. District Courts.

           18.     Plaintiff is legally blind and uses JAWS screen reader software

    (hereinafter, “Plaintiff’s software”) in order to access website content. Plaintiff’s software

    is the most popular screen reader software utilized worldwide by visually impaired

    individuals.

           19.     Despite several attempts, Defendant’s website did not integrate with

    Plaintiff’s software, nor was there any function within the website to permit access for

    visually impaired individuals through other means. Plaintiff was denied the full use and

    enjoyment of the goods and services available on Defendant’s website as a result of access

    barriers on the website.

           20.     Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.

           21.     By failing to adequately design and program its website to accurately and

    sufficiently integrate with popular commercially available screen reader software, Defendant

    has discriminated against Plaintiff and others with visual impairments on the basis of a

    disability by denying them full and equal enjoyment of the website, in violation of 42 U.S.C.

    § 12182(a) and C.F.R. § 36.201.


           22.     As a result of Defendant’s discrimination, Plaintiff was unable to use

    Defendant’s website and suffered an injury in fact including loss of dignity, mental anguish

    and other tangible injuries.

           23.     The barriers at the website have caused a denial of Plaintiff’s full and equal

    access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

    website.

           24.     If Defendant’s website were accessible, Plaintiff could independently
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    research, review and purchase goods from Defendant’s stores online, as well as utilize the

    other functions on the website. Plaintiff would also be able to pre-shop Defendant’s

    inventory and learn about specials, sales and offers before going to the physical location to

    shop or make purchases.

           25.      Plaintiff believes that although Defendant may have centralized policies

    regarding the maintenance and operation of its website, Defendant has never had a plan

    or policy that is reasonable calculated to make its website fully accessible to, and

    independently usable by, people with visual impairments.

           26.      Without injunctive relief, Plaintiff and other visually impaired individuals will

    continue to be unable to independently use Defendant’s website in violation of their rights

    under the ADA.

                                          SUBSTANTIVE VIOLATION

                                 (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

           27.      The allegations contained in the previous paragraphs are incorporated

    by reference.

           28.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

    “No individual shall be discriminated against on the basis of a disability in the full and equal

    enjoyment the goods, facilities, privileges, advantages or accommodations of any place of

    public accommodation by any person who owns, leases (or leases to), or operates a place of

    public accommodation.” 42 U.S.C. § 12182(a).

           29.      Defendant’s stores and accompanying website are public accommodations

    within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).

           30.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful
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    discrimination to deny individuals with disabilities the opportunity to participate in or

    benefit from the goods, services, facilities, privileges, advantages or accommodations of

    an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

           31.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination

    to deny individuals with disabilities the opportunity to participate in or benefit from the goods,

    services, facilities, privileges, advantages or accommodations, which is equal to the

    opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

           32.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

    also includes, among other things:

           a failure to make reasonable modifications in policies, practices or procedures, when
           such modifications are necessary to afford such goods, services, facilities, privileges,
           advantages or accommodations to individuals with disabilities, unless the entity can
           demonstrate that making such modifications would fundamentally alter the nature of
           such goods, services, facilities, privileges, advantages or accommodations; and a
           failure to take such steps as may be necessary to ensure that no individual with a
           disability is excluded, denied services, segregated or otherwise treated differently than
           other individuals because of the absence of auxiliary aids and services, unless the entity
           can demonstrate that taking such steps would fundamentally alter the nature of good,
           service, facility, privilege, advantage or accommodation being offered or would result
           in an undue burden.

    42 U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a).

           33.     Title III requires that “[a] public accommodation shall furnish appropriate

    auxiliary aids and services where necessary to ensure effective communication with

    individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The regulations set forth numerous

    examples of “auxiliary aids and services,” including “…accessible electronic and

    information technology; or other effective methods of making visually delivered materials

    available to individuals who are blind or have low vision.” 28 C.F.R. § 36.303(b).

           34.     The acts alleged herein constitute violations of Title III of the ADA, and the
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    regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

    substantially limits the major life activity of seeing within the meaning of 42 U.S.C. §§

    12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s website.

    Plaintiff has not been afforded the goods, services, privileges and advantages that are

    provided to other patrons who are not disabled, and/or has been provided goods, services,

    privileges and advantages that are inferior to those provided to non-disabled persons. These

    violations are ongoing as Defendant has failed to make any prompt and equitable changes to

    its website and policies in order to remedy its discriminatory conduct.

           35.     Pursuant to 42 U.S.C. 12188 and the remedies, procedures and rights set forth

    and incorporated therein, Plaintiff requests relief as set forth below.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays for:

           a.      A Declaratory Judgment that at the commencement of this action Defendant
                   was in violation of the specific requirements of Title III of the ADA described
                   above, and the relevant implementing regulations of the ADA, in that
                   Defendant took no action that was reasonably calculated to ensure that its
                   website is fully accessible to, and independently usable by, blind individuals;

           b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                   36.504 (a) which directs Defendant to take all steps necessary to brings its
                   website into full compliance with the requirements set forth in the ADA, and
                   its implementing regulations, so that its website is fully accessible to, and
                   independently usable by, blind individuals, and which further directs that the
                   Court shall retain jurisdiction for a period to be determined to ensure that
                   Defendant has adopted and is following an institutional policy that will in fact
                   cause Defendant to remain fully in compliance with the law;

           c.      Payment of costs of suit;

           d.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28
                   CFR
                   § 36.505; and,

           e.      The provision of whatever other relief the Court deems just, equitable
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               and appropriate.


                                    Respectfully submitted,

                                    /s/ J. Courtney Cunningham
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